            Case 3:22-cv-00073-SALM Document 2 Filed 01/14/22 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


RICHARD FAGAN,                                :
                                              :
                Plaintiff,                    :
                                                     Civil Action No.:
                                              :
       v.                                     :
                                              :
FEDERAL EXPRESS CORPORATION,
                                              :      January 14, 2022
                Defendant.                    :
                                              :
                                              :


                   DEFENDANT’S NOTICE OF NO PENDING MOTIONS

       Pursuant to this Court’s Standing Order in Removed Cases, Defendant Federal Express

Corporation (“FedEx”) hereby gives notice that there are no motions pending at the time of the

filing of the Notice of Removal.

                                                  Respectfully submitted,

                                                  /s/ Lindsay M. Rinehart
                                                  Maura A. Mastrony (ct27787)
                                                  Lindsay M. Rinehart (ct30921)
                                                  LITTLER MENDELSON, P.C.
                                                  One Century Tower
                                                  265 Church Street
                                                  Suite 300
                                                  New Haven, CT 06510
                                                  Telephone: 203.974.8700
                                                  Facsimile: 203.974.8799
                                                  mmastrony@littler.com
                                                  lrinehart@littler.com
         Case 3:22-cv-00073-SALM Document 2 Filed 01/14/22 Page 2 of 2




                                 CERTIFICATE OF SERVICE


       I hereby certify that on this 14th day of January, 2022, a copy of the foregoing was sent

via email to all counsel and pro se parties of record as follows:

James V. Sabatini
Sabatini and Associates, LLC
1 Market Square
Newington, CT 06111
jsabatini@sabatinilaw.com

                                                      /s/ Lindsay M. Rinehart
                                                      Lindsay M. Rinehart
